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 CAND 89B (Rev. 6/17) Subpoena to Produce Documents or Objects in a Criminal Case



                                        UNITED STATES DISTRICT COURT
                                                  NORTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,                                                     SUBPOENA TO PRODUCE
                                                                              DOCUMENTS OR OBJECTS
                                        Plaintiff,                            IN A CRIMINAL CASE
         v.                                                                   Case No.: 4:20-CR-266-JST
MICHAEL ROTHENBERG

                                        Defendant(s).

TO: ROTHENBERG VENTURES C/O JEFFERSON R. EPPLER, CUSTODIAN OF RECORDS


YOU ARE COMMANDED to produce at the place, date, and time specified the document(s) or object(s) indicated
below. If compliance would be unreasonable or oppressive, you may file a motion requesting the court to quash or
modify the subpoena, to review the documents in camera, or to permit production only pursuant to a protective order.
PLACE                                                                                                      COURTROOM/JUDGE
☐ U.S. Courthouse         ☐ U.S. Courthouse     ☐ U.S. Courthouse         ☐
                                                                          ✔ U.S. Courthouse   Hon. Jon S. Tigar
  450 Golden Gate Ave.      280 South First St.   3140 Boeing Ave.          1301 Clay Street   DATE AND TIME
  San Francisco, CA 94102   San Jose, CA 95113    McKinleyville, CA 95519   Oakland, CA 94612
                                                                                              8/5/2024 09:00
 If the document(s) or object(s) are produced in advance of the date specified, either to the court in an envelope delivered to
 the clerk’s office or to the issuing attorney whose name and address appears below, no appearance is necessary.
 The following document(s) or object(s) shall be produced:
See Attachment A




 NOTE: Subpoena forms requiring the appearance of a witness to testify at a criminal proceeding or to testify and bring
 documents to a criminal proceeding, must use Form CAND 89A, Subpoena to Testify in a Criminal Case) or for the
 production of state law enforcement personnel or complaint records (CAND 89C, Subpoena to Produce State Law
 Enforcement Personnel Or Complaint Records in a Criminal Case) are available at the Court’s website:
 cand.uscourts.gov.
 U.S. MAGISTRATE JUDGE OR CLERK OF COURT                                       DATE



 (By) Deputy Clerk


 ATTORNEY’S NAME, ADDRESS AND PHONE NUMBER:
Hanni M. Fakhoury (State Bar No. 252629)
2006 Kala Bagai Way, Suite 600
Berkeley, CA 94704
(510) 500-9994
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CAND 89B (Rev. 6/17) Subpoena to Produce Documents or Objects in a Criminal Case



PROOF OF SERVICE
                     DATE                                                    PLACE
R EC E IV E D
B Y SE R V ER

                     DATE                                                    PLACE
SE R V E D

SERVED ON (PRINT NAME)                                                       FEES AND MILEAGE TENDERED TO WITNESS

                                                                             ☐ YES ☐ NO AMOUNT $

SERVED BY (PRINT NAME)                                                       TITLE




                                                        DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Proof of Service is true and correct.

Executed on
                                       DATE                                        SIGNATURE OF SERVER

                                                                                   ADDRESS:



ADDITIONAL INFORMATION
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                         Attachment A to Subpoena
                    United States vs. Michael Rothenberg
                            4:20-CR-00266-JST

                                  Custodian of Records
                                  Rothenberg Ventures

A. Definitions and instructions

   1. “Document(s)” means, without limitation, any written, printed, typed, photographed,
      recorded or otherwise reproduced or stored communication or representation, whether
      comprised of letters, words, numbers, pictures, sounds or symbols, or any
      combination thereof. This definition includes copies or duplicates of documents
      contemporaneously or subsequently created which have any non-conforming notes or
      other markings and the backsides of any communication or representation which all
      contain any of the above.
   2. “Communication” means the transmittal of information (in the form of facts, ideas,
      inquiries, or otherwise).
   3. “Rothenberg Ventures Funds” means any and all investment vehicles, in any form
      and known by whatever name, managed and controlled by Rothenberg Ventures its
      subsidiaries, affiliates, segments, divisions or authorized representatives, both
      presently existing and those which previously existed. That includes, but is not
      limited to, Rothenberg Ventures Fund I (also known as the “2013 Fund”), Rothenberg
      Ventures Fund II (also known as the “2014 Fund”), the Rothenberg Ventures 2015
      Fund, Rothenberg Ventures 2016 Fund, and any and all co-fund or Special Purpose
      Vehicles including, but not limited to, Chubbies, SpaceX, etc.
   4. No documents called for by this request shall be destroyed, modified, removed,
      transferred, or otherwise made inaccessible. If you have knowledge that any
      subpoenaed document has been destroyed, discarded or lost, identify the subpoenaed
      document and provide an explanation of the destruction, discarding, loss, or disposal,
      and the date at which the document was destroyed, discarded, or lost.
   5. This subpoena is continuing in nature. Any document not produced because it has not
      been located or discovered by the return date shall be provided immediately upon
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          location or discovery subsequent thereto with an explanation of why it was not
          located or discovered until the return date.
   B. Documents required

       Please provide all documents, records and communications relating to the following
       topics

       1. All distributions, in whatever form, made to any and all fund investors in any and all
          Rothenberg Ventures Funds from the inception of Rothenberg Ventures and its funds
          until the present.
       2. The present value of the holdings of any and all Rothenberg Ventures Funds
          investors.
       3. A current, up to date, capitalization table of all Rothenberg Ventures Funds.
       4. Any and all internal forensic accounting or audit reports prepared by Rothenberg
          Ventures at any time including, but not limited, to reports prepared by Force Ten
          Partners, LLC and a “reconciliation” of the Expert Report of Gerald T. Fujimoto and
          the Report of Force Ten Partners, LLC; this request includes all underlying data, in
          native format, of any data used to generate reports.
       5. Any and all Rothenberg Ventures Fund reports, including but not limited to Annual
          reports, prepared by Rothenberg Ventures since inception until the present.




Information responsive to this subpoena should be produced in electronic or native format where
                     that format is the best means for transmitting the content.

               Questions regarding compliance may be addressed to attorney
       Hanni Fakhoury via email at hanni@mlf-llp.com or telephone at (510) 500-9994.
